        Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 1 of 16



                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


BAHIA AMAWI                               Case No. 1:18-cv-01091-RP

            Plaintiff,                    consolidated with

      vs.                                 Case No. 1:18-cv-01100-RP

PFLUGERVILLE INDEPENDENT SCHOOL
DISTRICT; and                             PLAINTIFF BAHIA AMAWI’S
                                          OPPOSITION TO KEN PAXTON’S
KEN PAXTON, in his official capacity as   MOTION TO DISMISS
Attorney General of Texas,

            Defendants.
             Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 2 of 16



                                           TABLE OF CONTENTS


TABLE OF AUTHORITIES ......................................................................................... iii

INTRODUCTION .......................................................................................................... 1

ARGUMENT .................................................................................................................. 3

  I.        ARKANSAS TIMES WAS WRONGLY DECIDED. ........................................ 3

       A.     The First Amendment protects political boycotts. ....................................... 3

       B.    Requiring Amawi to certify that she does not politically boycott Israel
       violates her First Amendment rights. .................................................................... 6

  II.       ARKANSAS TIMES IS CONTRARY TO FIFTH CIRCUIT PRECEDENT. .. 8

  III. THE TEXAS ANTI-BDS ACT IS UNCONSTITUTIONAL BECAUSE IT
  MAKES EXPRESSIVE CONTENT A NECESSARY COMPONENT OF
  PROHIBITED CONDUCT. ........................................................................................ 9

CONCLUSION............................................................................................................. 10

CERTIFICATE OF SERVICE ..................................................................................... 12




                                                             ii
            Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 3 of 16



                                       TABLE OF AUTHORITIES

Cases

Arkansas Times v. Waldrip,
   --- F. Supp. 3d ----, No. 18-CV-914,
   2019 WL 580669 (E.D. Ark. Jan. 23, 2019) ................................................... passim

Boos v. Barry,
   485 U.S. 312 (1988) .................................................................................................. 4

Cole v. Richardson,
   405 U.S. 676 (1972) .................................................................................................. 7

FAIR v. Rumsfeld,
  547 U.S. 47 (2006). ......................................................................................... passim

FTC v. Superior Court Trial Lawyers Association,
  493 U.S. 411 (1990) .................................................................................... 4, 5, 6, 10

Henry v. First National Bank of Clarksdale,
  595 F.2d 291 (5th Cir. 1979) .................................................................................... 3

International Longshoreman’s Association v. Allied International, Inc.,
   456 U.S. 212 (1982) ........................................................................................ 4, 6, 10

Jordahl v. Brnovich,
   336 F. Supp. 3d 1016 (D. Ariz. 2018) ........................................................... 2, 5, 6, 8

Koontz v. Watson,
   283 F. Supp. 3d 1007 (D. Kan. 2018) ............................................................... 2, 5, 6

NAACP v. Claiborne Hardware Co.,
  458 U.S. 886 (1982) ........................................................................................ passim

RAV v. St. Paul,
  505 U.S. 377 (1992) ................................................................................................ 10

Seals v. McBee,
   898 F.3d 587 (5th Cir. 2018). ............................................................................... 8, 9

Texas v. Johnson,
   491 U.S. 397 (1989) ................................................................................................ 10

Thomas v. Collins,
  323 U.S. 516 (1945) .................................................................................................. 3


                                                            iii
            Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 4 of 16



United States v. Albertini,
  472 U.S. 675 (1985) .................................................................................................. 5

United States v. O'Brien,
  391 U.S. 367 (1968) .................................................................................................. 5

United States v. Sindel,
  53 F.3d 874 (8th Cir. 1995) ...................................................................................... 7

Statutes

U.S. Const. Amend. I ........................................................................................... passim

Ark. Code § 25-1-502...................................................................................................... 9

Tex Gov’t Code § 808.001............................................................................................... 9




                                                            iv
          Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 5 of 16



                                 INTRODUCTION

      The Texas Attorney General’s Motion to Dismiss (Dkt. 55) mostly rehashes the

legal arguments made in his Opposition to Amawi’s Motion for a Preliminary

Injunction. See Dkt. 25. These arguments fall short. The Texas Anti-BDS Act

facially violates the First Amendment. Far from failing to state a “plausible” First

Amendment claim, Amawi is likely to succeed on one.

      In order to avoid duplicative briefing, Amawi incorporates the arguments made

in her Motion for a Preliminary Injunction (Dkt. 8-2) and Reply in Support (Dkt. 39).

As those briefs explained:

      •    Participation in a boycott of Israel is protected under the First
           Amendment, PI Mot. at 6-7; PI Reply 2-3;

      •    The challenged Anti-BDS Act is an unlawful content-based speech
           restriction, PI Mot. at 8-10; PI Reply at 8-9;

      •    The challenged Anti-BDS Act is an unconstitutional speech
           compulsion, PI Reply at 3-5;

      •    The challenged Anti-BDS Act is an unconstitutional condition on
           government benefits, PI Mot. at 10-12;

      •    The challenged Anti-BDS Act is not narrowly tailored to fulfill a
           compelling government interest, PI Mot. at 13-14;

      •    The challenged Anti-BDS Act is an unlawful prior restraint, PI Mot.
           at 12;

      •    The challenged Anti-BDS Act is unconstitutionally vague, PI Mot. at
           12-13 1; and


      1 Further showing vagueness, last week the Comptroller added AirBnB to its
blacklist, see https://comptroller.texas.gov/purchasing/publications/divestment.php,
even though Airbnb merely declines to list properties in Israeli settlements in West
Bank Settlements as “part of a larger policy with regard to conflict zones.” Tovah
Lazaroff, Texas Blacklists AirBnB over West Bank Settlement Boycott, JERUSALEM
POST (Mar. 3, 2019), available at https://www.jpost.com/Israel-News/Texas-
                                          1
          Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 6 of 16



      •    The challenged Anti-BDS Act cannot be saved because of some
           distinction between Amawi acting in her personal and “sole
           proprietorship” capacity, PI Reply at 9-10.

      The only addition to the Attorney General’s arguments is his extensive reliance

on Arkansas Times v. Waldrip, --- F. Supp. 3d ----, No. 18-CV-914, 2019 WL 580669

(E.D. Ark. Jan. 23, 2019). The Eastern District of Arkansas issued this decision on

January 23rd, eight days after the Attorney General filed his opposition to the Motion

for Preliminary Injunction. See MTD at 1, 12-14; see also AG Notice of Supplemental

Authority (Dkt. 31). Arkansas Times is the third federal decision to address the

constitutionality of anti-BDS laws, but only the first to deny a preliminary injunction.

See Koontz v. Watson, 283 F. Supp. 3d 1007 (D. Kan. 2018) (invalidating anti-BDS

law); Jordahl v. Brnovich, 336 F. Supp. 3d 1016 (D. Ariz. 2018) (same).

      Arkansas Times was wrongly decided. The court incorrectly concluded that

neither boycotts of Israel nor forced declarations that one will not engage in boycotts

of Israel has any protectable speech value. Arkansas Times lacks persuasive force in

light of binding Supreme Court and Fifth Circuit precedent. Moreover, Arkansas

Times is distinguishable based on material differences in the two states’ anti-BDS

laws. Thus, in addition to the incorporated arguments made in Amawi’s Preliminary

Injunction Motion and Reply, Plaintiff will use this opposition to explain why the

Court should refuse to apply Arkansas Times.




blacklists-Airbnb-over-West-Bank-settlement-boycott-582253. See also PI Mot. at 12
(“It is by no means clear what exact activities the State of Texas intends to
prohibit….”); PI Reply at 8 (“Texas is inconsistent in applying the definition it now
proffers…”).
                                           2
        Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 7 of 16



                                    ARGUMENT

I.    ARKANSAS TIMES WAS WRONGLY DECIDED.

      A.     The First Amendment protects political boycotts.

      As Plaintiff has repeatedly emphasized, Claiborne controls this case. PI Mot.

at 6-7; PI Reply at 2-3, 5. The principal holding of Arkansas Times, however, rejects

Claiborne as binding precedent. 2019 WL 580669 at *6. The Arkansas district court

held that because the act of not purchasing something is not “inherently expressive,”

political boycotts themselves are unprotected by the First Amendment. Id. at *5-7;

see also AG MTD at 6-12.

      In NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982), the Supreme Court

explained that a political boycott, “differentiate[d] … from a boycott organized for

economic ends,” is expressive. Id. at 915. Arkansas Times tries something different.

The Arkansas Times decision attempts to distinguish speech in support of a boycott,

which Claiborne explicitly protects, from the physical act of boycotting itself. See

Arkansas Times, 2019 WL 580669 at *6; see also AG MTD at 10-12.

      But Claiborne did not make this distinction. Claiborne declared that the

“boycott clearly involved constitutionally protected activity,” and its speech elements,

“though not identical, are inseparable.” Id at 911 (quoting in part Thomas v. Collins,

323 U.S. 516, 530 (1945)).     Claiborne would have had no reason to clarify that

“[s]econdary boycotts and picketing by labor unions may be prohibited,” id. at 912, as

could “a boycott organized for economic ends,” id. at 915 (quoting Henry v. First

National Bank of Clarksdale, 595 F.2d 291, 303 (5th Cir. 1979)), if it were not holding

that participation in a boycott for political reasons constitutes protected conduct.

                                           3
        Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 8 of 16



      Arkansas Times attempts to support its misreading of Claiborne by citing

International Longshoreman’s Association v. Allied International, Inc., 456 U.S. 212

(1982). 2019 WL 580669 at *6-7; see also AG MTD at 9-10. But Longshoreman did

not hold that the First Amendment does not protect political boycotts.

Longshoreman, instead, recognized that boycotting is constitutionally equivalent to

“picketing,” which is unquestionably expressive conduct. 456 U.S. at 226; see also

Boos v. Barry, 485 U.S. 312, 318 (1988) (picketing is “classically political speech”).

Longshoreman reflected the Supreme Court’s judgment that the admittedly

expressive nature of a labor-union boycott was overridden in that instance by the

general, viewpoint-neutral labor law prohibition against secondary boycotts. Id. at

225-26. That prohibition against secondary boycotts was grounded in labor laws’

interests in protecting dissenting third parties from coerced participation in the union

boycott. Id. at 225-26.      Thus, as Claiborne itself explained, the result in

Longshoreman was not because of a lack of First Amendment “protected activity,” but

because a viewpoint-neutral labor regulation having only an “incidental” effect on

protected activity may be “justified in certain narrowly defined instances.” 458 U.S.

at 912 (citations omitted). The Texas Anti-BDS Act, by contrast, directly targets

protected political activity in a viewpoint-discriminatory manner. See PI Mot. at 8-

10; PI Reply at 8-9.

      Arkansas Times also relies on FTC v. Superior Court Trial Lawyers

Association, 493 U.S. 411, 415-16 (1990), a Supreme Court case which held that a

public defender boycott seeking to increase pay was an unlawful restraint of trade.



                                           4
        Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 9 of 16



2019 WL 580669 at *6. But SCTLA found that the “decisive” difference between the

boycott there and the one in Claiborne was that the Claiborne boycotters did not seek

“special advantage for themselves” but instead sought “to change a social order.”

SCTLA, 493 U.S. at 426; see also Claiborne, 458 U.S. at 915. In contrast, the SCTLA

boycotters were simply seeking “economic advantage.” 493 U.S. at 426. This is the

opposite of how the Texas Anti-BDS Act operates, which punishes those who forego

economic transactions while attempting to change social policy. See § III, below.

      Finally, Arkansas Times seeks refuge in the Supreme Court’s decision in FAIR

v. Rumsfeld, 547 U.S. 47 (2006). 2019 WL 580669 at *5-6; see also AG MTD at 6-8.

But as explained by Amawi in prior briefing as well as by two federal courts, FAIR

does not take this case out of Claiborne’s ambit. See PI Reply at 6; Koontz, 283 F.

Supp. 3d at 1023-204, and Jordahl, 336 F. Supp. 3d at 1042-43.

       First, FAIR involved an “incidental” burden on speech, which triggers at most

intermediate scrutiny. See 57 U.S. at 67 (quoting United States v. Albertini, 472 U.S.

675, 689 (1985)). Under the test relied on by FAIR, an incidental burden on speech

will be upheld if “the governmental interest is unrelated to the suppression of free

expression,” see United States v. O'Brien, 391 U.S. 367 (1968), FAIR, 57 U.S. at 65-

67. But in both Arkansas and Texas, as well as in other states’ Anti-BDS provisions,

the suppression is intentional. See Koontz, 283 F. Supp. 3d at 1023 (“conduct the

Kansas Law aims to regulate is inherently expressive” under Claiborne); PI Mot. at

3-4, 8-10; PI Reply at 3, 8-9. Texas’s suppression intention is obvious from the Anti

BDS-Act’s legislative history.   See PI Mot. at 3-4 (showing House sponsor and



                                          5
        Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 10 of 16



Governor specifically proclaiming that the bill was targeting the BDS movement). It

is obvious from Governor Greg Abbott’s response to this lawsuit: “Texas stands with

Israel. Period.” See PI Mot. at 5. Moreover, as explained in more detail in Section

III, below, the Texas Anti-BDS Act only applies if a contractor accompanies their

refusal to purchase Israeli products with an expressive element. This case is the

inverse of FAIR.

      Second, FAIR conspicuously does not refer to the law schools’ actions as a

boycott anywhere in the opinion. Instead, the Supreme Court states that the conduct

involved was simply “treating military recruiters differently from other recruiters.”

Id. at 66. FAIR does not mention Claiborne, SCTLA, or Longshoreman at all. When

the Supreme Court overrules, abrogates, or distinguishes prior decisions, it does so

expressly. The Supreme Court’s unanimous, narrow decision in FAIR cannot be read

to have upset decades of prior boycott caselaw covertly and without dissent. See

Koontz, 283 F. Supp. 3d at 1023 (“boycotts—like parades—have an expressive

quality”) (citing Claiborne). Arkansas Times fails to recognize that balance, and thus

misreads FAIR. See Koontz, 283 F. Supp. 3d at 1023-204; Jordahl, 336 F. Supp. 3d

at 1042-43 (distinguishing FAIR).

      B.     Requiring Amawi to certify that she does not politically
             boycott Israel violates her First Amendment rights.

      Arkansas Times separately held that Arkansas’s certification requirement,

akin to the one challenged here, did not violate the First Amendment because it was

simply “elicit[ing] information” that the individual would comply with the law. 2019

WL 580669 at *4 (relying on United States v. Sindel, 53 F.3d 874, 878 (8th Cir. 1995),


                                          6
          Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 11 of 16



and Cole v. Richardson, 405 U.S. 676, 680 (1972)); see also AG MTD at 13-14. The

federal court in Arkansas Times concluded that no certification requirement

implicates the First Amendment unless the underlying certification conduct (the

boycott) is itself constitutionally protected speech. 2019 WL 580669 at *4.

      This conclusion is wrong for two reasons. First, as explained in Section I-A

above, Amawi’s boycott is constitutionally protected speech. Second, unlike the tax

information required in Sindel, the certification here is not eliciting ministerial

information in Amawi’s possession. Instead, under Sindel’s own reasoning, the

certification requires Amawi to “disseminate” a political position on Israel “with

which [s]he disagrees.” 53 F.3d at 878 (explaining what type of certification would

violate the First Amendment). Moreover, unlike the generic defend-the-Constitution-

and-oppose-treason oath in Cole, 405 U.S. at 678, 2 the certification here is directed at

one specific type of activity – boycotting Israel – which is not otherwise unlawful. See

also PI Reply at 4 & 10 n.4 (discussing Cole).

      Arkansas Times’s critical error comes when, relying on FAIR, the court reasons

that “[it] is highly unlikely that, absent any explanatory speech, an external observer

would ever notice that a contractor is engaging in a primary or secondary boycott of

Israel.” 2019 WL 580669 at *5; see also FAIR, 547 U.S. at 66. This is a Catch-22. The

Eastern District of Arkansas held that, because prohibiting boycotts is legal (a



      2 “I do solemnly swear (or affirm) that I will uphold and defend the Constitution
of the United States of America and the Constitution of the Commonwealth of
Massachusetts and that I will oppose the overthrow of the government of the United
States of America or of this Commonwealth by force, violence or by any illegal or
unconstitutional method.”
                                           7
        Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 12 of 16



premise at odds with the jurisprudence), the state is allowed to compel a promise not

to boycott Israel. Id. at *4. But this means the state is thus compelling the very

conduct-adjacent speech that FAIR acknowledged would implicate the First

Amendment. FAIR, 547 U.S. at 66; see also Jordahl, 336 F. Supp. 3d at 1042

(requiring a “promise to refrain from engaging in certain actions that are taken in

response to larger calls to action that the state opposes” is “infringing on the very

kind of expressive conduct at issue in Claiborne”).

      The error in Arkansas Times’s reasoning is evident by applying its holding to

the facts of Claiborne itself. According to Arkansas Times, the NAACP could advocate

for a boycott of white merchants, but had no right to refuse to visit their stores or

purchase their merchandise. Id. at *5-6. Under the logic of Arkansas Times,

Mississippi could have required the NAACP to certify that it would not boycott

racially discriminatory businesses. Since any result blocking that NAACP activism

must be wrong, Arkansas Times must be wrong as well.

II.   ARKANSAS TIMES IS CONTRARY TO FIFTH CIRCUIT
      PRECEDENT.

      Even if Arkansas Times were correct as a matter of law in its own circuit, it is

contrary to the Fifth Circuit’s recent, binding analysis in Seals v. McBee, 898 F.3d

587 (5th Cir. 2018). In Seals, the Fifth Circuit held that “threats to take wholly lawful

actions” are protected by the First Amendment. Id. at 595. Seals further explained

that Claiborne held that NAACP protected both threats to engage in “boycotts of

private businesses” and the boycotts themselves. Id. at 597 (citing Claiborne, 458

U.S. at 899-900). Seals recognizes that a statute which prohibits “constitutionally


                                           8
           Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 13 of 16



protected threats, such as to boycott,” is unconstitutional. Id. Seals thus forecloses

Arkansas Times’s position that the government may punish either participation in a

political boycott or the threat to do so. (Such a threat is inherent in refusing to sign

the certification that one will not boycott Israel). In the absence of some legally-

meaningful distinction between political boycotts and boycotts against Israel, which

neither the Attorney General nor Arkansas Times provides, the Texas Anti-BDS Act

is unconstitutional.

III.   THE TEXAS ANTI-BDS ACT IS UNCONSTITUTIONAL BECAUSE IT
       MAKES EXPRESSIVE CONTENT A NECESSARY COMPONENT OF
       PROHIBITED CONDUCT.

       The Texas Anti-BDS Act specifically prohibits conduct “intended to penalize,

inflict economic harm on, or limit commercial relations specifically with Israel,” but

exempts from the definition of boycott “an action made for ordinary business

purposes.” Tex Gov’t Code § 808.001(1). The Arkansas statute does not make the

same distinction. Arkansas’s Anti-BDS provision instead applies to the “engaging in

refusals to deal, terminating business activities, or other actions that are intended to

limit commercial relations with Israel, or persons or entities doing business in Israel

or in Israeli-controlled territories, in a discriminatory manner,” Ark. Code

§ 25-1-502(1)(A)(i). Arkansas’s Anti-BDS provision does not regard whether those

activities are done for “ordinary business purposes.” 3




       3 The Arkansas statute does require that the refusal be done “in a
discriminatory manner” but this language is neither discussed in nor relevant to the
Arkansas Times opinion.
                                           9
        Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 14 of 16



      In Texas, the Anti-BDS Act does not affect all those who refuse to engage in

commerce with Israel; the law only disfavors those who do so for political reasons, as

opposed to business reasons. Thus, contrary to the content-neutral regulations

upheld in FAIR, SCTLA, and Longshoreman, the Anti-BDS Act makes distinctions

based on speech content. See also PI Reply Br. at 6 (distinguishing FAIR).

      The Supreme Court has held that even when the government may proscribe

speech based on a “noncontent element,” it cannot proscribe the same speech if it does

so based on a content element. RAV v. St. Paul, 505 U.S. 377, 386 (1992); see also PI

Reply at 9. It is for this reason that flag burning may be punishable as part of “an

ordinance against outdoor fires” but not as part “of an ordinance against dishonoring

the flag.” Id. at 385 (citing Texas v. Johnson, 491 U.S. 397 (1989)). Thus, even if this

Court adopted Arkansas Times’s reasoning here, the Anti-BDS Act would still be

unconstitutional because of Texas’s unique “ordinary business purposes” carve-out.

It is not permissible to, as the Texas Anti-BDS Act does, make a statutory violation

dependent on whether it is accompanied by politically protected speech.

                                   CONCLUSION

      The Court should deny the Attorney General’s Motion to Dismiss and grant

Amawi’s Motion for a Preliminary Injunction. Amawi expressly incorporates her

Memorandum in Support (Dkt. 8-2) and Reply in Support (Dkt. 39) of the Motion for

a Preliminary Injunction in opposition to this Motion.




                                          10
       Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 15 of 16



Dated: March 5, 2019               CAIR LEGAL DEFENSE FUND

                                   /s/ Lena F. Masri
                                     Lena F. Masri (D.C. Bar No. 1000019) α
                                        lmasri@cair.com
                                     Gadeir I. Abbas (VA Bar No. 81161) α *
                                        gabbas@cair.com
                                     Carolyn M. Homer (D.C. Bar No. 1049145) α
                                        chomer@cair.com
                                     453 New Jersey Ave., SE
                                     Washington, DC 20003
                                     Phone: (202) 742-6420
                                     Fax: (202) 488-0833

                                   α Admitted pro hac vice

                                   * Licensed in VA, not in D.C.
                                     Practice limited to federal matters

                                   JOHN T. FLOYD LAW FIRM

                                   John T. Floyd (TX Bar No. 00790700)
                                      jfloyd@johntfloyd.com
                                   Christopher M. Choate
                                     (TX Bar No. 24045655)
                                     choate@johntfloyd.com
                                   4900 Woodway Dr., Ste. 725
                                   Houston, TX 77056
                                   Phone: (713) 224-0101
                                   Fax:       (713) 237-1511




                                     11
       Case 1:18-cv-01091-RP Document 60 Filed 03/05/19 Page 16 of 16



                          CERTIFICATE OF SERVICE

      I certify that on March 5, 2019 the foregoing document was filed via the

Court’s CM/ECF system. I further certify that all counsel of record will receive

automated service through that system.

                                                           /s/ Lena F. Masri




                                         12
